       Case 4:10-cr-01031-FRZ-GEE Document 20 Filed 01/14/16 Page 1 of 1




 1   JOHN S. LEONARDO
     United States Attorney
 2   District of Arizona
     JOSPEH E. KOEHLER
 3   Assistant U.S. Attorney
     United States Courthouse
 4   405 W. Congress Street, Suite 4800
     Tucson, Arizona 85701
 5   Telephone: 520-620-7300
     Email: joseph.koehler@usdoj.gov
 6   Attorney for Plaintiff
 7                       IN THE UNITED STATES DISTRICT COURT
 8
                               FOR THE DISTRICT OF ARIZONA
 9
     United States of America,                            CR 10-00754-TUC-CKJ-(JR)
10
                          Plaintiff,
11                                                    NOTICE OF PAYMENT TOWARD
                   v.
12                                                      FORFEITURE JUDGMENT
     Miguel Torralba-Mendia,
13                        Defendant.
14         Now comes the United States of America by and through its undersigned
15   attorneys, and hereby gives notice that $66,905.07 has been paid toward the forfeiture
16   money judgment entered against the defendant on February 7, 2013 by this court. On
17   January 8, 2015, the government provided this court with notice that it had sold 1038 Oso
18   Court, Rio Rico, Arizona and obtained $66,380.07 in proceeds. (ECF No. 1087). The
19   defendant and co-defendant Eusebio Arce-Padilla’s money judgments were jointly and
20   severally liable. In addition, the defendant has paid $525 toward his money judgment
21   Therefore, the remaining balance of the money judgment against defendant Miguel
22   Torralba-Mendia is $27,144.93 in United States currency.
23         Respectfully submitted this 14th day of January, 2016.
24
25                                            JOHN S. LEONARDO
                                              United States Attorney
26                                            District of Arizona

27
                                              s/ Joseph E. Koehler
28
                                              JOSEPH E. KOEHLER
                                              Assistant U.S. Attorney
